Case 2:04-cr-20434-SH|\/| Document 68 Filed 07/14/05 Page 1 of 2 Page|D 73

FEBJBY ””_RG.
IN THE UNITED STATES DISTRICT COURT
FOR TI-I.`E WESTER.N DISTRICT OF TENNESSEE 7 g oh
`WESTERN DIVISION 05 JUL lh AH"

 

 

U`NITED S'I‘ATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20434-Ma

ARTURO MUNOZ ,

\_/\_/~_._¢~._rvvv-._r-._/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
review the report of mental evaluation.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August l2, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT `IS SO ORDERED this (SA day Of J‘l.lly, 2005.
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SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DIS'I‘RICT JUDGE

 

Th|s docc.ment entered on the dock

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This notice confirms a copy of the document docketed as number 68 in
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Honorable Samuel Mays
US DISTRICT COURT

